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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
                                 AT MEMPHIS



Eloise Collins,

Plaintiff,

vs.                                                    NO.

The Hartford Life and Accident Insurance Company ,

Defendant.



                                        COMPLAINT


         COMES NOW your Plaintiff, Eloise Collins by and through counsel, and sues

the defendant, The Hartford Life and Accident Insurance Company , and for cause states

and shows to this Honorable Court as follows:

             1.   The Plaintiff, Elliose Collins is a resident of Memphis, Shelby County,

Tennessee;

         2.       That at all times herein mentioned, The Hartford Life and Accident

 Insurance Company is a foreign corporation with a principal place of business in the

 State of Connecticut. The defendant's agent for service of process is the Tennessee

 Commission of Insurance;

             3.   This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a). There is

 diversity of citizenship between the parties and the amount in controversy exceeds




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$100,000.00.       Therefore, diversity exists in this cause of action;

        4.         This is a civil action to recover a long-term disability benefits and short-

term disability benefits pursuant to Section 502 of the Employee Retirement Income

Security Act of 1974 (herein ERISA);

        5.          The plaintiff by virtue of her employment with Baxter International, Inc.

was provided with a short-term disability insurance policy and a long-term disability

insurance policy. The group number was 83079247 and the claim number was

9001608656;

        6.          On September 16, 2014, the Plaintiff submitted a claim for long-term

disability benefits which were as of September 30, 2014;

         7.         The Plaintiff has been "DISABLED" an eligible for disability benefits due

to Chronic Obstructive Pulmonary Disorder;

         9.         The Plaintiff timely filed an administrative appeal which was affirmed on

 March 31, 2016;

         10.        The Defendant subsequently informed the Plaintiff on July 14, 2016 that

 the March 31, 2016 decsion was final;

         11.         On July 14, 2016, Hartford Life and Accident Insurance Company

 affirmed the denial and stated in each denial that all administrative remedies have been

 exhausted and that there were no further appeals available from Hartford Life and

 Accident Insurance Company ;

             12.     The Plaintiffs condition renders her "DISABLED" as defined under

 "DEFINITION OF DISABILITY" under group policy which is the subject of this



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litigation;

         13.   The defendant has failed to pay benefits for said policy and plans with

benefits accruing amounting to 80 percent of the Plaintiffs gross income for each month

she is unable to engage in substantial gainful activity;

         14.    There will be additional benefits accruing after filing of this lawsuit as the

Plaintiff remains disabled;

         15.    The defendant's denial of disability benefits is arbitrary and capricious as

defined by the Sixth Circuit case law governing ERISA claims.

         WHEREFOREt,he Plaintiff prays for a judgment against the defendant for all

approved benefits, for any months he is disabled under the policy, for pre-judgment and

post-judgment interest, for future benefits, for attorney's fees, for discretionary costs and

any other relief the Court deems just and proper under the circumstances.

                                                Respectfully Submitted,



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